              Case 2:10-cr-00193-WBS Document 30 Filed 07/23/10 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   BENJAMIN GALLOWAY, Bar #214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     ERIC MORTENSON
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,    )
                                  )          No. 2:10-CR-00193 EJG
10                   Plaintiff,   )
                                  )
11             v.                 )          AMENDED STIPULATION AND ORDER
                                  )          TO TRAVEL TO ARIZONA
12                                )
     ERIC MORTENSON,              )
13                                )
                     Defendant.   )          JUDGE: Hon. Kendall J. Newman
14                                )
     ____________________________ )
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16
17           It is hereby stipulated and agreed to between the United States of
18   America through LAUREL RIMON, Assistant U.S. Attorney, and defendant,
19   ERIC MORTENSON, by and though his counsel, BEN GALLOWAY, Assistant
20   Federal Defender, to the following:
21           Mr. Eric Mortenson is currently on a pretrial release.           He is
22   requesting to travel with his mother to Yuma, Arizona on July 27, 2010,
23   to visit his Uncle who resides in Yuma, Arizona, and was recently
24   hospitalized with a clogged artery.         Eric’s uncle needs assistance from
25   while recuperating at home in Arizona.          He wishes to visit his Uncle
26   for two weeks and is to return to Sacramento, California on or before
27   Friday, August 13, 2010.
28   / / /
           Case 2:10-cr-00193-WBS Document 30 Filed 07/23/10 Page 2 of 2


 1   Eastern District of California United States Probation Officer, Darryl
 2   Walker and Assistant United States Attorney, Laurel Rimon, have no
 3   objection to Mr. Mortenson’s travel arrangements on those dates.
 4   DATED: July 21, 2010             Respectfully submitted,
 5                                    DANIEL J. BRODERICK
                                      Federal Defender
 6
                                      /s/ Ben Galloway
 7
                                      BEN GALLOWAY
 8                                    Assistant Federal Defender
                                      Attorney for Defendant
 9                                    ERIC MORTENSON
10
                                      BENJAMIN B. WAGNER
11                                    United States Attorney
12
                                      /s/ Ben Galloway for
13   DATED: July 21, 2010
                                      LAUREL RIMON
14                                    Assistant U.S. Attorney
15
                                       O R D E R
16
               IT IS SO ORDERED.
17
18
19   DATED: July 22, 2010.             /s/ Kendall J. Newman
                                      KENDALL J. NEWMAN
20                                    UNITED STATES MAGISTRATE JUDGE
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